            Case 2:23-cv-01495-JHC          Document 334        Filed 11/05/24      Page 1 of 3




 1                                                              THE HONORABLE JOHN H. CHUN

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 6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8
      FEDERAL TRADE COMMISSION, et al.,                       CASE NO.: 2:23-cv-01495-JHC
 9
                       Plaintiffs,                            DECLARATION OF MICHAEL
10                                                            BAKER IN SUPPORT OF
                  v.                                          PLAINTIFFS’ MOTION TO
11                                                            COMPEL PRODUCTION OF
      AMAZON.COM, INC., a corporation,                        DOCUMENTS
12                     Defendant.
                                                              FILED UNDER SEAL
13

14 I, Michael Baker, declare as follows:

15          1.      I am an Attorney in the Federal Trade Commission’s (“FTC”) Bureau of

16 Competition, and I represent the FTC in the above-captioned action. I am over eighteen years of

17 age and am competent to testify to the matters set forth in this declaration. I make the following

18 statements based on my personal knowledge.

19          2.      I certify that Plaintiffs conferred in good faith with counsel for Amazon in an

20 effort to resolve the parties’ disputes without Court action. Counsel for Plaintiffs and counsel for

21 Amazon have met and conferred at length regarding Plaintiffs’ Requests for Production Nos. 32,

22 376, 377, and 387, both by email and letter exchanges and through telephonic meet and confers,

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24
      DECL. OF MICHAEL BAKER                                          FEDERAL TRADE COMMISSION
      ISO PLAINTIFFS’ MOTION TO COMPEL                                    600 Pennsylvania Avenue, NW
      PRODUCTION OF DOCUMENTS - 1                                                Washington, DC 20580
      CASE NO. 2:23-cv-01495-JHC                                                        (202) 326-2222
           Case 2:23-cv-01495-JHC        Document 334        Filed 11/05/24      Page 2 of 3




 1 including as follows: April 10, 2024 (RFP No. 32); July 26, 2024 (RFP No. 32); and August 9,

 2 2024 (RFP Nos. 376, 377, 387).

 3         3.     Attached as Exhibit A is a true and correct copy of an excerpt from Amazon's

 4 Responses and Objections to Plaintiffs’ Second Set of Requests for Production to Amazon.com,

 5 Inc., dated March 25, 2024.

 6         4.     Attached as Exhibit B is a true and correct copy of an excerpt from a letter from

 7 Katie Trefz, counsel for Amazon, to Dan Principato, counsel for the FTC, dated May 3, 2024.

 8         5.     Attached as Exhibit C is a true and correct copy of an excerpt from a letter from

 9 Katie Trefz, counsel for Amazon, to Michael Baker, counsel for the FTC, dated October 15,

10 2024.

11         6.     Attached as Exhibit D is a true and correct copy of Appendix B to a letter from

12 Robert Keeling, counsel for Amazon, to Shira Steinberg, counsel for the FTC, dated August 30,

13 2024.

14         7.     Attached as Exhibit E is a true and correct copy of a document produced by

15 Amazon with the Bates number Amazon-FTC-CID_07679127.

16         8.     Attached as Exhibit F is a true and correct copy of a document produced by

17 Amazon with the Bates number Amazon-FTC-CID_02265294.

18         9.     Attached as Exhibit G is a true and correct copy of a document produced by

19 Amazon with the Bates number Amazon-FTC-CID_01916541.

20         10.    Attached as Exhibit H is a true and correct copy of an email from Alexander

21 Heldman, counsel for Amazon, to Michael Baker, counsel for the FTC, dated October 25, 2024.

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     DECL. OF MICHAEL BAKER                                        FEDERAL TRADE COMMISSION
     ISO PLAINTIFFS’ MOTION TO COMPEL                                  600 Pennsylvania Avenue, NW
     PRODUCTION OF DOCUMENTS - 2                                              Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                      (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 334        Filed 11/05/24       Page 3 of 3




 1         11.     Attached as Exhibit I is a true and correct copy of an excerpt from Amazon’s

 2 Responses and Objections to Plaintiffs’ Fourth Set of Requests for Production to Amazon.com,

 3 Inc., dated July 29, 2024.

 4         12.     Attached as Exhibit J is a true and correct copy of an excerpt from a letter from

 5 Michael Baker, counsel for the FTC, to Katie Trefz and Madison Arent, counsel for Amazon,

 6 dated August 19, 2024.

 7         13.     Attached as Exhibit K is a true and correct copy of an excerpt from a letter from

 8 Katie Trefz, counsel for Amazon, to Michael Baker, counsel for the FTC, dated September 18,

 9 2024.

10         14.     Attached as Exhibit L is a true and correct copy of a document produced by

11 Amazon with the Bates number AMZN-RTL-FTC-02635813.

12         15.     Attached as Exhibit M is a true and correct copy of a document produced by

13 Amazon with the Bates number Amazon-FTC-CID_04140046.

14         16.     Attached as Exhibit N is a true and correct copy of a document produced by

15 Amazon with the Bates number AMAZON-FTC_00016721.

16         17.     Attached as Exhibit O is a true and correct copy of an email from Kristen

17 DeWilde, counsel for Amazon, to Michael Baker, counsel for the FTC, with two accompanying

18 attachments, dated October 28, 2024.

19

20         I declare under penalty of perjury that the foregoing is true and correct.

21         Executed on November 5, 2024, in Denver, CO.

22

23                                                           s/ Michael Baker
                                                             Michael Baker
24
     DECL. OF MICHAEL BAKER                                          FEDERAL TRADE COMMISSION
     ISO PLAINTIFFS’ MOTION TO COMPEL                                    600 Pennsylvania Avenue, NW
     PRODUCTION OF DOCUMENTS - 3                                                Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                        (202) 326-2222
